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 U.S.M.J. STEVEN M. GOLD                                              9/24/2019

                           CRIMINAL CAUSE FOR PLEADING

        Zhukov et al
 USA -v-________________________                                      18      633 (ERK)
                                                          Docket No.: ____-CR-___________

            Sergey Ovsyannikov
 Defendant: _________________________________________________________________

 ❑ present      ❑ not present                      ❑ custody       ❑ bail

               George Graffo
 Def. Counsel: _______________________________________________________________

 ❑ present      ❑ not present                      ❑ CJA       ❑ FD     ❑ Retained

        Saritha Komatireddy
 AUSA: ________________________                                  Saudia Gillespie
                                                   Clerk/Deputy: _____________________

              Isabelle Avrutin
 Interpreter: _____________________                          Russian
                                                   Language: ________________________

       12:23
 FTR: (__________   1:30
                  - ___________)                   Reporter: _________________________


 ❑  Case Called
 ❑  Defendant=s First Appearance
 ❑  Defendant: ❑ Sworn        ❑ Arraigned          ❑ Informed of Rights
 ❑  Waiver of Indictment Executed for Defendant
 ❑  Superseding Indictment/Information Filed
 ❑  Bench Warrant Issued: _____________________________________
 ❑  Defendant Enters Guilty/Not Guilty Plea to Count(s) _____________
       of the (Superseding) Indictment/Information
                                                                                 1, 5 and 7
 ❑ Defendant Withdraws Not Guilty Plea and Enters Guilty Plea to Count(s) _____________
       of the (Superseding) Indictment/Information
 ❑ Court Finds Factual Basis for the Plea
 ❑ Sentencing Set for _____/_____/_____ at ________________
 ❑ Sentencing to be Set by Probation
 ❑ Bail/Bond: ❑ Set        ❑ Continued for Defendant             ✔ Continued in Custody
                                                                 ❑
 ❑ Case Adjourned to ___/___/___ at __________
 ❑ Pursuant to Federal Rule of Criminal Procedure 11, the Magistrate Judge did administer the
       allocution. A finding has been made that the plea was made knowingly and voluntarily
       and the plea was not coerced. The Magistrate Judge recommends that the plea of guilty
       be accepted.
 ❑ Transcript Ordered
 ❑ Other: __Transcript SEALED, with exception of counsel on this case.
 ____________________________________________________
